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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                   NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
           Plaintiffs,                                MEMORANDUM DECISION AND
                                                      ORDER GRANTING
                                                      DEFENDANTS’ MOTION IN
                                                      LIMINE AS TO PLAINTIFFS’
                                                      EXPERTS DIFONZO AND BORDIA


                   vs.


 RANDY L. HAUGEN, et al.,                             Case No. 1:95-CV-94 TS
           Defendants.




       This matter is before the Court for consideration of Defendants’ Motion in Limine as

to Plaintiffs’ Experts Dr. Difonzo and Dr. Bordia. Defendants raise Daubert1 challenges to

these experts and seek to exclude their testimony at trial.

       At the Final Pretrial Conference held on February 13, 2006, the Court announced

its anticipated ruling on the present motion and set the February 23, 2007 deadline for filing

additional motions in limine. During the week between February 23, 2007 and March 2,



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           Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

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2007, the parties filed and briefed, and the Court decided, twenty-three additional Motions

in Limine. Those rulings substantially narrowed the scope of the testimony and exhibits

for trial.

        In view of these rulings, and the Court having considered the present Motion in view

of the Daubert analysis, the Court finds that the expert testimony of Drs. DiFonzo and

Bordia no longer “fits” this case. A review of their expert report shows that it almost entirely

addresses the following: the alleged long history of the Satanic rumor dating back through

the 1980s; the alleged involvement of others in spreading the same or similar false

Satanism rumors; the alleged spreading of the rumor outside of the relevant time frame;

the alleged spreading of rumors other than the rumor at issue in this case; alleged acts or

failures to act by dismissed parties; criticisms of P & G and its products not related to the

Satanic rumor; and Amway’s alleged involvement in spreading the rumor. These are all

matter which have been excluded from trial.2 Even where their report address the incident

at issue in this case, it does so in terms of Amway’s alleged failure to act.3

        As this Court noted in a previous Order regarding Plaintiffs’ experts House and Fry,

one of the Daubert factors is “fit.”4

        [I]n fulfilling its Daubert obligations a trial court must also conduct a further
        inquiry into whether proposed testimony is sufficiently “relevant to the task
        at hand.” Relevant evidence “means evidence having any tendency to make


        2
            Docket No. 1079 (Mem. Dec. and Order on Motions in Limine).
        3
            E.g. Report at 23.
        4
        Docket No. 985 (quoting Bitler v. A.O. Smith Corp., 391 F.3d 1114, 1121 (10th
Cir. 2004)).

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       the existence of any fact that is of consequence to the determination of the
       action more probable or less probable than it would be without the evidence.”
       The Supreme Court has described the consideration of relevant evidence as
       one of “fit.” A trial court must look at the logical relationship between the
       evidence proffered and the material issue that evidence is supposed to
       support to determine if it advances the purpose of aiding the trier of fact.
       Even if an expert's proffered evidence is scientifically valid and follows
       appropriately reliable methodologies, it might not have sufficient bearing on
       the issue at hand to warrant a determination that it has relevant “fit.”
       Testimony concerning the laws of quantum mechanics may be scientifically
       relevant, but may have no practical relevance to testimony concerning the
       function and possible failure of a water heater safety valve control. Evidence
       appropriate for one purpose, therefore, may not be relevant for a different
       purpose, and it is the trial court's task to make this fitness determination.5

       As a result of the Court’s rulings in its Order on Motions in Limine, the evidence

offered by these experts no longer “fits” this case because it is nearly all based upon, or

relates to, matters that are excluded. As a result, the Court need not address any other

Daubert factors such as these experts’ qualifications or the reliability of their methodology.

Regardless of their qualifications or methodology, the DiFonzo and Bordia Expert Report

has no practical relevance to the narrow issues that remain for trial in this case. It is

therefore




       5
        Id. at 1121 (quoting Daubert, 509 U.S. at 591, 597) (other internal citations and
quotations omitted).

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      ORDERED that Defendants’ Motion in Limine as to Plaintiffs’ Experts DiFonzo and

Bordia (Docket No. 935) is GRANTED.

      DATED March 5, 2007.

                                      BY THE COURT:


                                      ___________________________________
                                      TED STEWART
                                      United States District Judge




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